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                  IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

FEDERAL DEPOSIT INSURANCE         )
CORPORATION AS RECEIVER FOR       )
VALLEY BANK,                      )
                                  )
            Plaintiff,            )
                                  )     Case No. 1:17-cv-04384
v.                                )     Hon. Edmond E. Chang
                                  )
CROWE HORWATH LLP,                )
                                  )
            Defendant.            )
          PLAINTIFF’S MOTION TO COMPEL DEPOSITIONS
           OF CROWE DEPONENTS KNORR AND INSERRA

       Plaintiff, the Federal Deposit Insurance Corporation as Receiver for Valley Bank

(“Plaintiff” or “FDIC-R”) hereby moves, pursuant to Federal Rules of Civil Procedure 26, 30 and

37, to compel the depositions of Crowe auditors Heather Knorr and Salvatore Inserra. In support

of this Motion, Plaintiff states as follows:

       1.      This case concerns Crowe’s negligent audits of the consolidated financial

statements of Valley Bank’s (“Valley”) holding company, River Valley Bancorp., Inc. Crowe

committed malpractice by issuing unqualified audit opinions on Valley’s financial statements

despite its knowledge of manipulation of Valley’s financial condition, inadequate internal

controls and insufficient evidence to support its audit opinion.

       2.      The Court’s scheduling order extended the close of fact discovery to July 29,

2018. ECF No. 69. The Court further ordered that the parties file a Joint Deposition Status

Report by May 29, 2018 listing the depositions that have been taken and confirmed dates for the

remaining depositions. Id.

       3.      In March 2018 during discovery conferences, Plaintiff alerted Crowe of specific

auditors that it intends to depose. On April 11, 2018, the FDIC-R served deposition notices on

counsel for Crowe for the depositions of Heather Knorr, a Crowe auditor who worked on the
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Valley audit, and Salvatore Inserra, a consulting partner on the Valley audit. These initial

depositions of Crowe personnel are noticed for May 2 and 8, 2018, respectively. See Notices

attached as Exhibits A and B. The FDIC-R intends to then move forward with additional

depositions of Crowe personnel consistent with the Court’s scheduling order. No depositions

have been taken in this action yet.

        4.      Crowe refuses to produce any of its auditors for deposition. Crowe bases this

blanket refusal on the grounds that it is still seeking the production of nonparty documents. For

example, Crowe is seeking additional regulatory documents as well as other nonparty documents

(such as documents of the prior auditor) that the FDIC-R obtained in its broad and confidential

investigation into Valley, which extended to matters well beyond Crowe’s role as auditor.1

        5.      Crowe has no legitimate grounds to refuse to produce its personnel for deposition

now. The documents Crowe seeks are irrelevant to the FDIC-R’s depositions of Crowe

personnel. Ms. Knorr and Mr. Inserra will be questioned about their work on the Valley audits

and various audit failures.

        6.      During the parties’ meet-and-confer sessions, Crowe has been unable to justify

why Ms. Knorr and Mr. Inserra cannot testify now about the work they performed in the Valley

audit. For example, Crowe seeks documents produced by McGladrey, the former auditor of

Valley, to the FDIC-R in its confidential investigation of Valley. Crowe, in fact, breached its

professional obligation in failing to obtain McGladrey’s audit workpapers or to speak with

McGladrey’s auditors regarding the audit environment prior to Crowe’s audit of Valley.



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        These documents have been the subject of extensive meet-and-confer efforts over the past two
months. The FDIC-R has already produced substantial portions of investigative materials where it could
do so without running afoul of its statutory confidentiality obligations. See 12 CFR § 308.147. Today,
Crowe moved to compel certain of these records. That discovery motion will take time to resolve, in part,
because it will require the involvement of the FDIC in its corporate capacity, which has asserted the bank
examination privilege over certain documents. See 12 CFR § 309.6.
                                                    2
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Regardless of how the Court resolves Crowe’s motion to compel nonparty documents,

McGladrey documents concerning an entirely different audit are irrelevant to the factual

testimony of Crowe personnel about its failed audits of Valley.

        7.      Crowe’s refusal to produce its witnesses delays the progress of discovery in this

action. After making an extensive document production of nearly 400,000 documents, the

FDIC-R seeks to move forward with depositions consistent with the Court’s scheduling order.

Crowe’s refusal to produce its witnesses violates its discovery obligations. Depositions need to

move forward. Awaiting the resolution of Crowe’s motion to compel is both unnecessary and

will significantly delay completion of fact discovery.

        8.      Pursuant to Local Rule 37.2, counsel for the FDIC-R has conferred on numerous

occasions with Crowe in attempt to resolve this dispute without Court intervention. FDIC-R

counsel Susan Valentine and David Giles spoke by phone with Crowe counsel Andrew Fuchs on

April 5, 2018, regarding Crowe’s refusal to proceed with any depositions. After following up by

email to confirm Crowe refused to change its position (see Exhibit C), FDIC-R counsel Susan

Valentine and Larry Heftman engaged in another telephone conference with Crowe counsel,

including Mr. Fuchs, on April 13, 2018 in a final attempt to resolve these issues. Crowe also

confirmed its objection to this Motion on April 16, 2018.

        9.      In each conference, the FDIC-R requested that Crowe explain how documents

that Crowe personnel did not receive and which were not reflected in its workpapers could be

necessary for Crowe witnesses to testify about their own audit work. Crowe was unable to and

cannot justify its position.




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       WHEREFORE, the FDIC-R requests that the Court grant its Motion to Compel and order

Crowe to produce its personnel, including specifically Ms. Knorr and Mr. Inserra, for deposition.



Dated: April 16, 2018
                                              /s/Susan Valentine
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 16, 2018, I electronically filed the foregoing Plaintiff’s

Motion to Compel with the Clerk of the Court using the ECF system, which will send

notification to all counsel of record, including the counsel listed below.


                                                     /s/Susan Valentine
                                                     Susan Valentine


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